
973 So.2d 756 (2008)
Karen LONGWELL and Her Husband, Charles Longwell and Adult Daughter of Karen Longwell, Jennifer Rodriguez
v.
JEFFERSON PARISH HOSPITAL SERVICE DISTRICT NO. 1 d/b/a West Jefferson Medical Center, Dr. Robert C. Dawson, III and Culicchia Neurological Clinic, L.L.C.
Karen Longwell and Her Husband, Charles Longwell and Adult Daughter of Karen Longwell, Jennifer Rodriguez
v.
Jefferson Parish Hospital Service District No. 1 d/b/a West. Jefferson Medical Center, Dr. Robert C. Dawson, III and Louisiana Medical Mutual Insurance Company ("LAMMICO").
No. 2007-C-2223.
Supreme Court of Louisiana.
January 25, 2008.
Denied.
TRAYLOR, J., recused.
VICTORY, J., would grant.
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